                                                             Case 8:20-bk-11977-ES      Doc 165 Filed 12/09/21 Entered 12/09/21 13:29:05                Desc
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                                                              5 Facsimile 714-966-1002
                                                                                                                              CLERK U.S. BANKRUPTCY COURT
                                                                                                                              Central District of California
                                                              6 Attorneys for Chapter 7 Trustee,                              BY duarte     DEPUTY CLERK
                                                                Weneta M.A. Kosmala
                                                              7

                                                              8                          UNITED STATES BANKRUPTCY COURT

                                                              9              CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION

                                                             10 In re                                          Case No. 8:20-bk-11977-ES

                                                             11 SC DEVELOPMENT FUND, LLC,                      Chapter 7

                                                             12                              Debtor.           ORDER GRANTING MOTION FOR
                                                                                                               AUTHORITY TO (1) ABANDON AND
                                                             13                                                RETURN FUNDS COLLECTED; AND (2)
                                                                                                               FILE NO ASSET REPORT
Weiland Golden Goodrich LLP
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                                                                                                                [No Hearing Unless Requested Pursuant to
                                                             15                                                Local Bankruptcy Rule 9013-1(o)(1)] ]

                                                             16
                        Tel 714-966-1000




                                                             17         The Court having read and considered the Notice of Motion and Motion for

                                                             18 Authority to (1) Abandon Funds on Hand; and (2) File a No Asset Report (the “Motion”)

                                                             19 filed by Weneta M.A. Kosmala, the duly appointed chapter 7 trustee (“Trustee”) for the

                                                             20 bankruptcy estate (“Estate”) of SC Development Fund, LLC (“Debtor”) [Docket No. 163]

                                                             21 and the Declaration of Ryan W. Beall that no request for hearing was filed [Docket No.

                                                             22 164], finding that notice and service were proper and that cause exists to grant the relief

                                                             23 sought;

                                                             24         IT IS ORDERED:

                                                             25         1.     The Motion is granted;

                                                             26         2.     The Trustee is authorized to immediately abandon the Funds on Hand to

                                                             27 Summitcrest Capital, Inc., the sole member of the Debtor, pursuant to 11 U.S.C. § 554(a);

                                                             28
                                                                                                              1                                                ORDER
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                                                              1        3.      The Trustee is authorized to file her No Asset Report upon the entry of the

                                                              2 order granting the Motion and upon a zero balance in the Estate account.

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                                                                  Date: December 9, 2021
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                                                                                                              2                                      ORDER
